EEOC Form 6 (11/08)

CHARGE OF DISCRIMINATION Charge Presented To: Agency(jes) Charge No(s):
This form is affected by the Privacy Act of 1974. Ses enclosed Privacy Act [| FEPA
Statement and other information before completing this form.
[x] EEoc 494-2016-01988
and EEOC
__ ___State or ocal Agency, if any _
Name (indicate Mr, Ms., Mrs.) — — Home Phone (incl. Aree Code} Date of Birth
Paul A. Wilkin - 08-02-1971
Street Address Clty, State and ZIP Code

1085 Karma Lane, Gallatin, TN 37066

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (if more than two, list under PARTICULARS below.)

Name No. Employees, Membera Phone No. (include Area Cade)
BERETTA USA CORP. 201 - 500 (301) 283-2191
Street Address City, State and ZIP Coda

1399 Gateway Drive, Gallatin, TN 37066

DISCRIMINATION BASED ON (Check appropriate box{es).} DATE(S) DISCRIMINATION TOOK PLACE

Earliest Latest

[| RACE [] COLOR [| SEX [| RELIGION [ ] NATIONAL ORIGIN 02-01-2016 09-08-2016

RETALIATION [| AGE [x] DISABILITY [| GENETIC INFORMATION

[] OTHER (Specify) [] CONTINUING ACTION

THE PARTICULARS ARE (if additional paper is needed, attach extra sheat(s)):
| am a person with a qualifying disability that was known by the Respondent. i was hired by the Respondent on

March 31, 2015 as a Metrologist. | belleve that during my employment, | was harassed, denied full benefits of my
reasonable accommodation request, had my assignment changed and was discharged due to my disability and
due to me complaining of discrimination relating to my disabllity. This employer has 15 or more employees.

Around February/March 2016 | notifled my employer of my disability and accommodation request. Soon after, !
was sent to see a company directed doctor for a fit for duty exam. ! was required to walt 5 weeks to see the
company doctor that resulted in all of my sick leave being exhausted. Upon my return | was released to full duty
and was granted Intermittent excused leave under FMLA as my accommodation but was not paid and was being
told | was accruing points against me as a result as well. | was not allowed to use my sick tlme to cover my
accommodation absences for pay purposes. Also, upon my return, my assigned dutles were changed even
though they were never part of my accommodation request or necessary. My supervisor, Mr. Tzanakos, began
harassIng me openly. | complained to HR more than once. After a conflict with a coworker that was aggravated
by'my supervisor, Mr. Tzanakes, | was moved to 2nd shift where there has never been a Metrologlist and | was
still doing the lesser assigned duties. My supervisor also made very harassing comments to me about my
disability and compared me to his ex-wife who also had a similar disabillty. | was told by him that f was not fit to
work for the Respondent. Soon afterward, on September 8, 2016 | was directed by Mr. Tzanakos that | must give
2 days advance notice to use vacation time for my accommodation absences and must cail the company sick line
if I'm going to use sick leave. This Is a change to my accommodation agreement. | went to HR to complain and
was sent home due to this aggravating my disability and was ultimately terminated.

| believe | have been retallated and discriminated against because of my disabllity, in violation of the Americans
with Disabilities Act Amendments Act of 2008, and retaliated against for opposing unlawful employment

practices.

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY - When necessary for State and
will advise the agencies if | changa my address or phone number and | will
cooperate fully with them in the processing of my charge In accordance with their i

procedures, | swear or affirm that | have re
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, iniciif%
SIGNATURE OF COMPLAINAN Tig
i

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. :
\ SUBSCRIBED AND SWORN Tt
Sep 16, 2016 bub if A/ en (month, day, year) ™
Data Charging Party Signature *

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